Case 1:04-cr-10061-.]DT Document 179 Filed 06/21/05 Page 1 of 2 Page|D 231

IN THE UNITED sTATES D:sTRIcT comm z

ton THE wEsTERN DISTRICT ot TENNESSEE
EASTERN DivIsIoN

UNITED STATES OF AMERICA,

Plaintiff,

 

./,;
vs. case N@. 1;04-10051~02-T `“/W
RICKY PICKARD,

Defendant.

 

 

ORDER OF CLARIFICATION

 

On June 15, 2005, an Amended Order on Chanqe of Plea was entered as to
the above referenced defendant. However, the wording of that Order did not
properly reflect that the intent of the amendment was to correctly reflect
that the defendant’s change of plea entered On February 25, 2005 was in
reference to Count 1 of the superseding indictment. The remaining information
contained in the amended order was reflective of the sentencing date which was
in effect at the time of the Oriqinal change of plea order dated February 28,
2005 and not reflective of the c rrent status of the case.

SO ORDERED THIS THE ;ZQ |,bAY OF JUNE, 2005.

   

 

A.Q¢M

TATES DISTRICT JUDGE

 
 

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This document entered on the docket sheet in compliance
with nme 55 and/or 32(b) FHch on LQ l 3 O \ § §§

 

COURT - WESRNTE

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Honorable J ames Todd
US DISTRICT COURT

